                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                        LYNCHBURG DIVISION


HENRY T. ROARK,                              )
                                             )
             Plaintiff,                      )    Case No. 6:05CV00041
                                             )
v.                                           )          OPINION
                                             )
UNITED STATES OF AMERICA,                    )    By: James P. Jones
                                             )    Chief United States District Judge
             Defendant.                      )

     Joseph A. Sanzone, Sanzone & Baker, P.C., Lynchburg, Virginia for Plaintiff;
Thomas L. Eckert, Assistant United States Attorney, Roanoke, Virginia, for
Defendant.

      The plaintiff, Henry T. Roark, was injured in an automobile accident on

November 12, 2003, in Lynchburg, Virginia. The accident occurred when Roark’s

vehicle was rear-ended on the on-ramp of an expressway in Lynchburg, Virginia, by

a car that had in turn been rear-ended by a vehicle driven by an FBI agent. Roark

filed the present action against the United States pursuant to the Federal Tort Claims

Act (“FTCA”), 28 U.S.C.A. §§ 2671-2680 (West 1994 & Supp. 2006), claiming

damages caused by the negligence of the FBI agent. Jurisdiction of this court exists

pursuant to 28 U.S.C.A. § 1346(b)(1) (West 1993 & Supp. 2006).

      On a motion for partial summary judgment by Roark, the court previously held

that the accident resulted from the negligence of the government employee, leaving




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for trial only the issue of damages. A bench trial on this issue was held on September

8, 2006, and the matter is now ripe for decision. As required by Federal Rule of Civil

Procedure 52(a), the following constitute my findings of fact and conclusions of law.



                                            I

      At the time of the accident, Roark was employed as an assembly mechanic with

Forestry Equipment of Virginia, Inc. (“Forestry Equipment”). Roark is presently

thirty-nine years old and quit high school in the tenth grade. Prior to his employment

with Forestry Equipment, he worked in several other fields, but as he testified at trial,

he has never held a job that did not involve some form of manual labor.

      Roark first began working for Forestry Equipment in 1997. As Roark reported

at trial, the company taught him everything he needed to perform the job. He worked

his way up through the company and at the time of the accident was making thirteen

dollars and fourteen cents per hour. Additionally, while working for Forestry

Equipment, the plaintiff received benefits such as the company’s contribution to a




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health care plan for his family and paid vacation days.1 As he and his wife testified,

at the time of this accident, he was the primary wage earner in his family.2

       Following the automobile accident on November 12, 2003, Roark was strapped

to a stretcher and taken by ambulance to Lynchburg General Hospital. While at the

hospital, he was given a neck brace, a prescription for medicine, and was told to go

see a specialist.

       On November 19, 2003, Roark saw Michael G. Browne, M.D., an orthopedic

specialist. When examined by Dr. Browne, Roark complained of pain in his right

shoulder. As Dr. Browne stated in his deposition, during this visit he prescribed

several medications to Roark for his acute symptoms and recommended that he get

an MRI to evaluate the disks of his neck.

       The MRI was performed on December 2, 2003. As Dr. Browne reported in his

deposition, the MRI revealed a disk herniation which was consistent with Roark’s

previous examination. In a follow-up visit with Roark on December 8, 2003, Dr.




       1
           While Roark does not request compensation for lost overtime hours, he did testify
at trial that prior to the accident, he worked all of the overtime hours that were available at
his company which was usually about eight to ten hours a week. As Roark reported, he was
paid time and a half for these overtime hours.
       2
        At the time of the accident, Roark’s stepchildren were living with him and his wife.
As he reported at trial, his health insurance plan also covered these stepchildren.

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Browne recommended that Roark be evaluated by a neurosurgeon and referred him

to Shawn B. Clark, M.D., for continued treatment.

       In his first visit with Roark in December 2003, Dr. Clark initially attempted to

help Roark’s condition through non-surgical methods. As Dr. Clark reported in his

deposition, these methods included: a cervical epidural injection, physical therapy,

and a prescription for an oral steroid pack. Roark next visited Dr. Clark on January

13, 2004 and it was during this visit that Dr. Clark learned that the epidural shot had

not worked as Roark continued to have pain in his right arm to the first, second, and

third fingers especially when he moved his head or his neck. Between his first and

second visit with Dr. Clark, Roark had also begun attending physical therapy sessions

which, as he reported to Dr. Clark, had helped him a little.3 Thus, it was during this

follow-up visit in January 2004, that Dr. Clark offered Roark the option of having

cervical discectomy surgery.

       The cervical discectomy surgery was performed on January 28, 2004. As he

testified at trial, when Roark awoke from the surgery he was painfully choking for



      3
         Roark saw Stephen M. Scott, a physical therapist, beginning in December 2003 and
up through May 2004. As Scott testified in his deposition, Roark had to end treatment in
May 2004 because he lacked the financial capacity to pay and his insurance only allowed him
two thousand dollars’ worth of therapy a year. However, as Scott also reported, he had been
planning to discharge Roark from physical therapy soon anyway and was hoping to transfer
him to a home exercise program.

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several minutes. After being discharged from the hospital following the surgery,

Roark still had problems moving his neck. His wife stated at trial that for several

weeks following the surgery, he had problems getting out of bed on his own and

needed her to help lift him out of bed. Due to his continued pain in his neck and

shoulder, the neurosurgeon recommended that he see Murray E. Joiner, Jr., M.D., for

pain management. Dr. Joiner prescribed anti-inflammatory medications. At the time

of trial, Roark was no longer taking these medications, since he could not afford to

pay for any of the medications that had been prescribed to him.4

      Between January 2004 and July 2005, Roark was also treated by James

Gallagher, M.D., a psychiatrist. As Dr. Gallagher testified at trial, he diagnosed

Roark as suffering from major depression, single episode, severe. During his sessions

with Roark, Dr. Gallagher found that Roark was extremely anxious. Dr. Gallagher

opined that the anxiousness may have partially stemmed from the economic stress

Roark was under. Dr. Gallagher also reported that Roark appeared very upset about

not being able to work and provide for his family. As Dr. Gallagher stated, Roark no

longer defined himself as a useful member of society.


      4
          After losing his job with Forestry Equipment, Roark tried to pay for his health
insurance on his own, but eventually had to end the policy due to financial constraints.
Additionally, while the government suggested that Roark could have applied for Medicaid
to continue receiving his medication, as Roark reported at trial, he did not qualify for
Medicaid as he owns his own home.

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      In fact, Roark was never able to return to his job with Forestry Equipment

following the accident. The company gave him twelve weeks to return to work and

as Roark testified at trial, he was unable to meet that deadline because of his surgery.

Furthermore, when his injuries had improved to the point that he felt comfortable re-

entering the workplace, his injury limited his employment opportunities, since he had

problems moving his neck and lifting more than a minimal weight.

      Roark did find employment in 2005 pumping gas. His first such job was at an

Exxon service station where he made six dollars per hour. He left Exxon to take a job

with another gas station because he would be making more money there. As he

testified, he wanted to make as much money as possibly for the kind of work he was

now capable of doing. At his second job, he began at six dollars and forty-five cents

an hour and worked his way up to seven dollars an hour.

      Roark lost his second gas pumping job because he requested time off to see a

doctor and was informed by his boss that if he took time off, he should not come back

at all. Since losing his second gas pumping job, the plaintiff has applied for jobs in

other areas such as cleaning carpets but has never heard back from a prospective

employer. When applying for these jobs, Roark had to disclose his neck injury, since

the applications required him to put down why he had left his previous jobs.




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Meanwhile, Roark applied for social security disability benefits, but his application

was denied.

      In addition to the physical and mental problems associated with Roark’s

injuries, the accident has taken a toll on Roark’s marriage. Mrs. Roark testified that

since the accident, her marriage has gone downhill partially due to Roark’s

depression and the financial difficulties they have experienced. As she stated, she has

left the plaintiff a couple of times, once for a period of several months.



                                           II

      The FTCA is a waiver by the United States of its immunity from suit. Pursuant

to the FTCA, the United States is liable “in the same manner and to the same extent

as a private individual under like circumstances.” 28 U.S.C.A. § 2674 (West 1994

& Supp. 2006). Consequently, damages generally are determined under the law of

the state where the act or omission occurs, in this case Virginia. In determining an

award of damages, Virginia law permits consideration by the trier of fact of (1) any

bodily injuries the plaintiff sustained and their effect on his health according to their

degree and probable duration; (2) any physical pain and mental anguish he suffered

in the past and any that he may be reasonably expected to suffer in the future; (3) any

inconvenience caused in the past and any that probably will be caused in the future;

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(5) any medical expenses incurred in the past; (6) any earnings he lost because he was

unable to work at his calling; (7) any loss of earnings and lessening of earning

capacity, or either, that he may reasonably be expected to sustain in the future; and

(8) any property damage he sustained.      See 1 Model Jury Inst. Comm., Virginia

Model Jury Instructions, Civil, Inst. No. 9.000 (2006).

      There is no requirement that the plaintiff show the exact amount of damages

with absolute certainty; however, a plaintiff must prove with reasonable certainty the

amount of his damages and the cause of his injury or loss.      Medcom, Inc. v. C.

Arthur Weaver Co., 348 S.E.2d 243, 248 (Va. 1986). “Damages which cannot be

established with reasonable certainty are speculative or conjectural and may not be

recovered.” Miller v. Johnson, 343 S.E.2d 301, 307 (Va. 1986). In short, “[p]roof

with mathematical precision is not required, but there must be at least sufficient

evidence to permit an intelligent and probable estimate of the amount of damage.”

Hailes v. Gonzales, 151 S.E.2d 388, 390 (Va. 1966).

      Additionally, an injured party has an obligation to mitigate damages. See

Forbes v. Rapp, 611 S.E.2d 592, 595 (Va. 2005). “Where an injured party finds that

a wrong has been perpetrated on him, he should use all reasonable means to arrest the

loss. . . . It is only incumbent upon him, however, to use reasonable exertion and




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reasonable expense. . . .” Haywood v. Massie, 49 S.E.2d 281, 284 (Va. 1948)

(internal quotation omitted).



                                          III

      In determining the proper amount of damages, I first note the parties’

stipulation that the plaintiff’s medical expenses amounted to $49,032.23 and his

related travel expenses were $530.40. Additionally, the parties stipulated that

Roark’s personal property damage amounted to $5,855.38.                Moreover, the

government does not dispute that Roark’s neck injury resulted solely from the

accident, or that he is unable to return to his former job because of his injury and

resulting disability. Thus, the only issues left for me to resolve is the amount the

plaintiff is entitled to recover for loss of earning capacity, both past and future, and

mental and physical pain and suffering.

      Regarding past wage loss, the court heard conflicting testimony from two

experts: Norman Fayne Edwards and Richard Edelman. Roark’s expert, Dr.

Edwards, a retired professor of economics from the University of Richmond, testified

that Roark’s lost wages from the time of the accident until the time of the trial

amounted to $66,529.      In contrast, Dr. Edelman, who testified on behalf of the

government and who is a professor emeritus of economics at American University,

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opined that Roark’s past lost wages amounted to $87,057. As Dr. Edelman reported

at trial, his figure differed from Dr. Edward’s for two reasons.          First, when

determining lost wages, Dr. Edelman took into account Forestry Equipment’s

contribution to Roark’s health insurance and any other fringe benefits. As Dr.

Edelman emphasized, it was appropriate for economists to consider fringe benefits

when calculating lost wages. Second, the two economics experts differed in that

when calculating wage growth, Dr. Edelman used a higher rate than Dr. Edwards had

used in his own calculations. While Dr. Edwards used the national average rate of

wage growth, Dr. Edelman used the average rate for skilled blue-collar workers

specifically, which is slightly higher than the average rate for all workers. In short,

Dr. Edelman used a number that was tailored to the type of work Roark had once

performed. In short, finding Dr. Edelman’s calculation of past lost wages more

reasonable, I will fix the amount of Roark’s past lost wages at $87,057.

      On the issue of loss of future wages, I was presented with conflicting testimony

from occupational experts regarding Roark’s future employment opportunities. The

government argued that Roark has an obligation to mitigate his damages by returning

to work. In particular, the government suggested that Roark could become a truck

driver which pays more than the gas pumping jobs he has had since the accident.

Roark contended that while he wants to return to work, he has had problems finding

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work since the accident. As he further argued, because of his neck injury, he likely

will be limited to jobs that pay similarly to what he made pumping gas. Hence, the

crucial issue explored at trial was whether based on Roark’s past work experience and

his injury, he is capable of acquiring a higher paying job such as a commercial truck

driver.

       Roark’s first occupational expert was Donald G. Branson, M.D., a physician

with a background in occupational medicine, who often performs disability

determinations.5 Dr. Branson examined Roark on July 7, 2004, after Roark had been

referred to Dr. Branson by Dr. Clark for a disability determination. Dr. Branson

opined that Roark could possibly work in a sedentary job which would require lifting

of no more than ten pounds. Additionally, Dr. Branson stated at trial that if a job

required a physical exam, it was unlikely that Roark would pass it and, hence, Roark

could not perform competitive work. In particular, Dr. Branson felt that Roark could

not pass the examination that is a prerequisite to becoming a truck driver. Dr.


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           Dr. Branson is not board certified in the specialty area of occupational medicine.
As he testified at trial, he had originally intended to become board certified and took several
of the relevant courses, but after failing the exam, he decided not to pursue the certification
process further as he was still able to operate an occupational medicine practice. When I
asked Dr. Branson what the purpose or nature of his care and examinations were, he
responded, “to determine the suitability and safety for employment.” Thus, I allowed Dr.
Branson to testify in this case despite his lack of certification in occupational medicine after
finding that Dr. Branson is capable of expressing an opinion that may be helpful to the trier
of fact in determining the issues in this case.

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Branson, who has conducted such exams, testified that he did not believe Roark could

become a truck driver because of his lifting restrictions, his pain, his apparent

inability to concentrate likely stemming from his depression, and his neck movement

limitations.

       Likewise, Larry L. Sinsabaugh, Ph.D., a rehabilitation expert called by Roark,

opined that Roark was not capable of working as a truck driver. As Dr. Sinsabaugh

noted, he took several factors into consideration when concluding that Roark was

neither suitable nor qualified for a truck driving position. In particular, he relied on

Dr. Clark’s and Dr. Branson’s reports regarding Roark’s lifting restrictions.

Furthermore, Dr. Sinsabaugh emphasized in his testimony that even if Roark received

a job that did not require him to lift his cargo, he would be required to maintain the

upkeep of his truck, a task that his injury prevented him from performing.

Additionally, Dr. Sinsabaugh’s conclusion that Roark was not suited to be a driver

relied on Roark’s pain and range of motion limitations, the fact that he does not have

a commercial driver’s license, and his several speeding tickets. As Dr. Sinsabaugh

stated, Roark is not a very competitive candidate because of this blemished driving

record. Finally, Dr. Sinsabaugh pointed to the list of medications that Roark should

be taking, which could prevent him from performing certain other higher paying jobs

such as a night watchman position.

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       The government presented the testimony of two occupational experts: Phillip

Bussey, Ph.D., an expert in the fields of rehabilitation and vocational counseling, and

Darrell Powledge, M.D., an occupational medicine physician. Dr. Bussey, who has

a doctorate in rehabilitation counseling and runs a rehabilitation counseling business,

stated that Roark could become a school bus driver or a forklift driver with some

rehabilitation. He suggested that Roark undergo both medical rehabilitation (physical

therapy and medications) and vocational rehabilitation. With respect to vocational

rehabilitation, Dr. Bussey recommended that Roark work towards getting his GED

and either train for a commercial driver’s license or take courses at a community

college relating to forklift operation. As Dr. Bussey testified, such vocational training

could also teach Roark how to sell himself to employers so that they would hire him

despite his neck injury.6 According to Dr. Bussey, this two pronged rehabilitation

would cost about five thousand dollars and take between six and eight months.

       The defense’s other vocational expert, Dr. Powledge, similarly opined in his

deposition that Roark could pass the physical exam for a commercial driver’s license.

Yet, Dr. Powledge, who is an occupational medicine physician, also stated that


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          During the trial, I asked this expert whether in his experience, a person who has
suffered a severe neck or back injury is prejudiced in obtaining manual labor jobs. In his
response, Dr. Bussey admitted that some prejudice is possible and that one of the reasons
Roark needs the vocational training is so that he can be taught how to sell himself to
employers and overcome any possible prejudice.

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presently Roark’s injuries prevent him from being a long haul driver and from lifting

and unloading a truck. Dr. Powledge additionally testified that he did not believe that

Roark had reached maximum medical improvement. Thus, Dr. Powledge suggested

that if Roark resumed taking the inflammatory medicine that had been prescribed to

him by Dr. Joiner and restarted his physical therapy, his injuries would improve to the

point that he would get his range of motion back, could drive long distances, and

could lift and unload a truck.7

       However, after reviewing all of the evidence regarding Roark’s future

employment possibilities, I find that the government has failed to prove that Roark

is capable of becoming a truck driver. The evidence presented by the government in

this regard is too speculative to be taken into account when fixing Roark’s award for

future wage loss. Roark currently does not have a commercial driver’s license, he has

no experience as a truck driver, he has an imperfect driving record which could

prevent him from being hired, and as several witnesses testified, his injuries prevent

him from performing tasks ordinarily required of a truck driver.                  Even the

government’s two vocational experts, the only witnesses who felt Roark could be a




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             More specifically, on the issue of Roark’s lifting restrictions, Dr. Powledge
testified in his deposition that while Roark was currently at a light to light medium lifting
level, with treatment he could get up to medium level.

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truck driver, admitted that Roark would need to undergo additional rehabilitation

before he could attain such a job.

       In short, while Roark has an obligation to mitigate his damages by trying to

attain a new job, I find that the type of job that he is capable of performing would

have a starting salary of approximately seven dollars and fifty cents an hour. As Dr.

Edelman testified, if Roark returns to work and begins at a rate of seven dollars and

fifty cents an hour, the present value of his future loss is $408,562. Thus, I fix

Roark’s loss of future earning capacity at this amount.8

       In addition to the medical expenses, property damages, and economic losses,

I will add $100,000 for the physical pain, mental anguish, and inconvenience suffered

by Roark as a result of the accident. After observing the plaintiff at trial, I find him

fully credible and not exaggerating the results of his injury. For a long period


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          While under Virginia law, a defendant in a tort case is not entitled to a reduction in
an award of future lost wages to reflect the income taxes that would have been paid on the
earnings, such a reduction for federal income taxes is approved in FTCA cases. As stated
by the Fourth Circuit in Flannery v. United States, 718 F.2d 108, 111 (4th Cir. 1983), “it has
now been repeatedly held that federal income taxes must be deducted in computing lost
future earnings, notwithstanding the fact that such deductions are not permitted under state
law.” However,“the burden is on the government to raise the issue and to prove the extent
of the reduction.” Musick v. United States, 781 F. Supp. 445, 453 (W.D. Va. 1991); see also
Jovanovich v. United States, 813 F.2d 1035, 1037 (9th Cir. 1987); Barnes v. United States,
685 F.2d 66, 69 (3d Cir. 1982); United States v. Cline, 410 F.2d 1337, 1343 (9th Cir. 1969).
Because the government has not raised the issue in this case, a reduction in future lost
earnings for federal income taxes will not be applied.


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following the accident, Roark was in severe pain and was unable to move his neck

normally. As previously mentioned, Roark had to undergo surgery from which he

awoke screaming in pain and choking. Furthermore, since the surgery, Roark has

continued to have pain and problems moving his neck.

      Additionally, since the accident Roark has experienced significant emotional

distress. As Dr. Gallagher, Roark, and Roark’s wife all testified to, Roark began to

suffer from depression following the accident. In particular, he has been very

distraught over losing his job with Forestry Equipment and has stated that he no

longer feels like a useful member of society. Dr. Gallagher also noted that during

treatment, Roark appeared extremely anxious, likely because of the significant

economic stress Roark has been under since losing his job.



                                        IV

      For these reasons, I find that the plaintiff has suffered damages proximately

caused by the accident in the amount of $651, 037.01. A separate judgment will be

entered.

                                               DATED: October 13, 2006

                                               /s/ JAMES P. JONES
                                               Chief United States District Judge



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